UNITED STATES _DISTRICT COURT
Case 2:05-cr-20020-.]DB Document 15[0Fl|ed 08/01/05 Page 1 of 5 Page|D 19
WESTERN DISTRICT OF TENNESSEE
WESTERN DIVISION

U.S.A. vs. Jeffrey P. Dallas Doeket No.2:05CR20020-01
Petition on Probation and Supervised Release

COMES NOW Dawn L. Brown , PROBATION OFFICER OF TI~IE COURT presenting an official
report upon the conduct and attitude of Jef&ey P. Dallas Who was placed on Probation by the Honorable W. Allen -
Pegper, Jr. sitting in the Court at Oxford MS on the 8th day of My, 2002, Who fixed the period of Probation at
five (51 years, and imposed the general terms and conditions theretofore adopted by the £§rt and§so Yposed

Special Conditions and terms as follows: ';=5;< C<r::) c

r.
r .--~
R_U,_;__h m

,. l -¢-_
l. The defendant shall participate in a program of testing and treatment for substi§§§§buse; as directed

 

 

 

by the Probation Officer, until such time as the defendant is released frohij;m>pr@'a t b the
Probation Officer. §§_'§ ¢_- §
w ..

cp '»-`
2. The defendant shall perform one hundred (100) hours of Community Servi€é' as dii"&ted"l)y the
Probation ()fficer. (Completed June 12, 2003)

3. The defendant shall reside for a period of three (3) months in a Community Corrections Center as
directed by the Probation Officer and shall observe the rules of the facility.
(Completed October 25, 2002)

* Jurisdiction transferred from the ND/MS (Oxford) to the WD/'I`N (Memphis) on January 26, 2005.
Probation was revoked on April 27, 2005, by the Honorable J. Daniel Breen. Defendant was sentenced
to Time Served with a one (1) year term of Supervised Release. The following Special Conditions were

imposed:

4. The defendant shall be committed to a term of six (6) months residence in a halfway house.

5. The defendant shall participate in substance abuse testing and treatment programs as directed by the
Probation Officer.

RESPECTFULLY PRESENTING PETITION FOR ACTION OF COURT FOR CAUSE AS FOLLOWS:
SEE ATTACHED

PRAYING THAT THE C()URT WILL ORDER a Summons be issued for Jeffrey P. Dallas to appear before the
United States Di strict Court to answer charges of violation of Supervised Release.

ORDER OF COURT I declare under penalty of perjury that the
foregoing is true and correct

S-`L
Con 'dered and ordered / day Ex uted
of .‘._..,w ~ , 20§ and ordered onQJA,OJ/\ KQ`K 3100 5/
filed an ade a part of the records in d
the a?r*-' case. - ”`
la . Unite States Probation Ofticer

UQStates District Judge \ Place: Memnhis. TN

Thls document entered on the docke_t-§U
wlm sale 55 and/or 32(:)) nach un - 2» 0 §

   

 

Case 2:05-cr-20020-.]DB Document 15 Filed 08/01/05 Page 2 of 5 Page|D 20

RE: Jeffrey P. Dallas
Docket Number: 2:05CR20020-01
Page 2

RESPECTFULLY PRESENTING PETITION F()R ACTION OF COURT FOR CAUSE AS FOLLOWS:

The defendant has violated the following conditions of his Probation:

The defendant shall not illegally possess a controlled substance.

Mr. Dallas tested positive for Cocaine use on June 25, 2005 and July 6, 2005.

].

2.
3.
4

Case 2:O5-cr-20020-.]DB Document 15 Filed 08/01/05 Page 3 of 5 Page|D 21

VIOLATlON WORKSHEET

Defendant Jeffrey P. Dallas ( 7956 Tankerston Drive, Memphis, TN 38125)

 

 

Docket Number (Year-Sequence-Defendant No.) 2:05CR20020~0]
District/Office Westem District of Tennessee (Meinphis)
Original Sentence 05 / 08 f 2002

Date month day year

(ll` different than above)l

5.
6.

7.

lO.

ll.

Original District/Ol`fice Northern District of Mississippi (Oxford)
Original Docket Number (Year-Sequence-Defendant No.) 2:01CR000157-006

 

List each violation and determine the applicable grade {sel §7Bl.l}:

Violation§s[ Grade
Illegally possessed/use of a controlled substance C

 

 

 

 

 

 

 

Most Serious Grade of Violation (§e§ §7Bl . I(b)) C

Criminal H_istory Category (_s§e_ §7Bl .4(a))74 l

 

 

 

Range of imprisonment (B §7B l .4(a)) 3 - 9 months*
Statutory Maximum: Two(2) years. Also see reasons for departure on next page.

 

Sentencing Options for Grade B and C Violations On|y (Check the appropriate box);

{x } (a)lf the minimum term of imprisonment determined under §7Bl .4 (Term of Imprisonment) is at least one month but not
more than six months, §7Bl .3(c)(l) provides sentencing options to imprisonment

{ } (b)l f the minimum term of imprisonment determined under §7Bi .4 (Term of Imprisonment) is more than six months but
not more than ten months, §7B I .3(6)(2) provides sentencing options to imprisonment

{ } (c)lf the minimum term of imprisonment determined under §7Bl .4 (Term of Imprisonment) is more than ten months, no
sentencing options to imprisonment are available

Mai| documents to: United States Sentencing Commission, 1331 Pennsylvania Avenue, N.W
Suite 1400, Washington, D.C., 20004, Attention: Monitoring Unit

Case 2:O5-cr-20020-.]DB Document 15 Filed 08/01/05 Page 4 of 5 Page|D 22

Del'endant Jeffrey P. Dallas

12. Unsatist`red Conditions of Original Sentence

List any restitution, line, community continement, home detention, or intermittent confinement previously imposed in connection
with the sentence for which revocation is ordered that remains unpaid or unserved at the time of revocation {§e§ §7Bl .3(d)}:

 

 

 

 

 

 

Restitution ($) N/A Community Continement N/A

F inc ($) N/A Horne Detention N/A

Other N/A intermittent Continement N/A
l3. Supervised Release

lf probation is to be revoked, determine the length, if any, of the tenn of supervised release according to the provisions of § § SD l . l -
1-3 {.S.§§ §§7B l -3(s)(l)}-

Terrn: to years
lt` supervised release is revoked and the term of imprisonment imposed is less than the maximum term of imprisonment impossible
upon revocation, the defendant may, to the extent permitted by Iaw, be ordered to recommence supervised release upon release
from imprisonment {se_e 18 U.S.C. §3583(e) and §7BI.3(g)(2)}.

Period of supervised release to be served following release from imprisonment

 

l 4. Departure

List aggravating and mitigating factors that may warrant a sentence outside the applicable range ot" imprisonment

Pursuant to §7B'i.3(d) any community confinement previously imposed that remains unserved at the time of revocation
may be served in addition to the sanction determined under §7B1.4. Thus, the adjusted range derived by taking into
account the unserved Community Continement would be approximately 9-15 months

15. Oiiicial Detention Adjustment {@ §7B] .3(e)}: months days

Mail documents to: United States Sentencing Commission, 1331 Pennsylvania Avenue, N.W.
Suite 1400, Washington, D.C., 20004, Attention: Monitoring Unit`

Notice of Distribution

This notice confirms a copy of the document docketed as number 15 in
case 2:05-CR-20020 Was distributed by faX, mail, or direct printing on
August 2, 2005 to the parties listed.

 

 

Pamela B. Hamrin

FEDERAL PUBLIC DEFENDER
200 Jefferson Ave.

Ste. 200

l\/lemphis7 TN 38103

Terrell L. Harris

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

l\/lemphis7 TN 38103

Honorable J. Breen
US DISTRICT COURT

